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BENJAMIN LESTER, ET AL.,                          §
                                                  §
                Plaintiffs,                       §
                                                  §
vs.                                               §   NO. 4:20-CV-404-A
                                                  §
UNITRIN SAFEGUARD INSURANCE                       §
COMPANY,                                          §
                                                  §
                Defendant.                        §


                              MEMORANDUM OPINION & ORDER

         Came on for consideration the motion by defendant, Unitrin

Safeguard Insurance Company, to dismiss.                         Doc. 1 16.      Having

considered the motion and brief in support thereof, the response

by plaintiffs, Benjamin Lester and Timothy Strannix, the record,

and the applicable authorities, the court finds that such motion

should be granted.

                                                 I.

                                     Factual Background

         In summary form, plaintiffs allege in their second amended

complaint:

         Plaintiffs purchased an insurance policy ("the policy")

from defendant to insure plaintiffs' property ("the property•).

Doc. 15 ,, 4-5.           On June 5, 2018, a storm damaged the property,




1
    The "Doc.   "reference is to the number of the item on the docket in this action.
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particularly the roof.       Id.   n     8-.9.     Storm damage constitutes a

covered loss under the policy.            Id.      On or around June 11, 2018,

defendant's adjuster inspected the property and failed to

document any of the roof damage caused by the storm.                  Id.   ~ 43.

Instead, such damage was attributed to wear and tear, which is

not covered by the policy.         Id.    j[ 44.     Based on the inspection,

defendant created an estimate that did not allow for adequate

funds to repair the damage caused by the storm or restore the

property to its pre-loss condition.                Id. ,, 8-11.

                                         II.

                         Erocedural Background

      On March 20,   2020,   plaintiffs initiated this action in

state court by filing their original petition.                Doc .. 1-5.   On

April 28, 2020, defendant removed the action to this court.

Doc. 1.    On June 15, 2020, plaintiffs filed their first amended

complaint, Doc. 13, and on June 22, 2020,               they filed their

second amended complaint, the current operative pleading, Doc.

15.   In the second amended complaint, plaintiffs bring causes of

action for breach of contract, violations of the Texas Deceptive

Trade Practices Act    ("DTPA"), violations of the Texas Insurance

Code, and breach of the common law duty of good faith and fair

dealing.   Id.   Specifically, plaintiffs allege that defendant

committed the following violations of the DTPA:

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        I.      Using or employing an act or practice in
                violation of the Texas Insurance Code.   Tex. Bus.
                & Com. Code § 17 . 50 (a) ( 4) .


        II.     Unreasonably delaying the investigation,
                adjustment, settlement offer, and prompt
                resolution of plaintiffs' claim. Tex. Ins. Code
                § 541.060(a)(2)-(5).'

        III. Failure to properly investigate plaintiffs'
             claim. Tex. Ins. Code§ 541.060(7). 3

        IV.    Hiring and relying upon a biased adjuster, in
               this case defendant's assigned adjuster and
               retained engineer, to obtain a favorable,
               results-oriented report, and to assist defendant
               in severely underpaying and/or denying
               plaintiffs' damage claim.  Tex. Bus. & Com. Code
               § 17.46(31).

        Doc. 15, 23.

        Plaintiffs allege that defendant committed the following

violations of the Texas Insurance Code:

        I.     Misrepresenting to plaintiffs pertinent facts or
               policy provisions relating to the coverage at
               issue. Tex. Ins. Code§ 541.060(a) (1).

        II.    Failing to attempt, in good faith, to effectuate
               a prompt, fair, and equitable settlement of a
               claim with respect to which the insurer's
               liability has become reasonably clear. Tex. Ins.
               Code§ 541.060(a) (2) (A).

        III. Refusing to pay a claim without conducting a
             reasonable investigation with respect to the
             claim.  Tex. Ins. Code § 541.060 (a) (7).



2
  Although this claim is brought pursuant to the Texas Insurance Code, plaintiffS listed it as a
DTPA violation. Doc. 15 , 23(B).
3
  The second amended complaint lists the alleged violation of Tex. Ins. Code§ 541.060(7) in
both the DTPA section and the Insurance Code section. Doc. 15 ,j,j23(C), 33(c).
                                                 3
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      IV.   Knowingly misrepresenting to a claimant pertinent
            facts or policy provisions relating to coverage
            at issue.  Tex. Ins. Code§ 542.003(b)(1).

     V.     Engaging in false, misleading, and deceptive acts
            or practices under the DTPA.  Tex. Ins. Code
            §541.151(2).

     Doc. 23   ~   3 3.

     On July 6, 2020, defendant filed its motion to dismiss.

Doc. 16.

                                      III.

                              Grounds of the Motion

     Defendant seeks the dismissal of plaintiffs' claims

regarding the Insurance Code, DTPA, and duty of good faith and

fair dealing on the grounds that plaintiffs failed to state a

claim upon which relief may be granted.          Doc. 17 at 4-13.       The

motion does not seek the dismissal of plaintiffs' breach of

contract claim.

                                       IV.

                          Applicable Pleading Standards

     Rule 8 (a) ( 2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a pleading contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,•

Fed. R. Civ. P. 8 (a) (2),       ''in order to give the defendant fair

notice of what the claim is and the grounds upon which it

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rests." Bell Atl. Corp. v. Twombly,         550 U.S.   544,   555   (2007)

(internal quotation marks and ellipsis omitted). Although a

pleading need not contain detailed factual allegations, the

"showing" contemplated by Rule 8 requires the pleader to do more

than simply allege legal conclusions or recite the elements of a

cause of action. Id. at 555 & n.3. Thus, while a court must

accept all of the factual allegations in the pleading as true,

it need not credit bare legal conclusions that are unsupported

by any factual underpinnings. See. Ashcroft v.          Iqbal, 556 U.S.

662,   679   (2009)    ("While legal conclusions can provide the

framework of a complaint, they must be supported by factual

allegations.")

       Moreover, to survive a motion to dismiss,         the facts pleaded

must allow the court to infer that the pleader's right to relief

is plausible.         Id. at 678.   To allege a plausible right to

relief, the facts pleaded must suggest liability; allegations

that are merely consistent with unlawful conduct are

insufficient.         Twombly, 550 U.S. at 566-69.     "Determining whether

a complaint states a plausible claim for relief .                   [is)   a

context-specific task that requires the reviewing court to draw

on its judicial experience and common sense." Iqbal,            556 u.s.       at

679.




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        The pleading requirements are more demanding when a party

alleges fraud.     Under Rule 9(b),       "[i]n alleging fraud or

mistake, a party must state with particularity the circumstances

constituting fraud or mistake." "Thus, allegations of fraud must

meet a higher, or more strict, standard than the basic notice

pleading required by Rule 8." Shushany v. Allwaste,           Inc.,   992

F.2d 517, 521 (5th Cir. 1993); see also Norman v. Apache Corp.,

19 F.3d 1017, 1023    (5th Cir. 1994)       (holding that while Rules 8

and 9(b) are to be harmonized,     "Rule 8 has never been read to

eviscerate Rule 9(b) 's requirement that an averment of fraud

must be stated with particularity. •) . "This standard is derived

from concerns that unsubstantiated charges of fraud can

irreparably damage a defendant's reputation." Norman, 19 F.3d at

1022.

        To plead fraud with particularity, as required by Rule

9(b),    the plaintiff must include the "time, place and contents

of the false representations, as well as the identity of the

person making the representation and what that person obtained

thereby.•    United States ex rel. Russell v. Epic Healthcare Mgt.

~.      193 F.3d 304, 308 (5th Cir. 1999)        (internal brackets and

quotation marks omitted). In other words,          "Rule 9 (b) requires

that a plaintiff set forth the who, what, when, where, and how



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of the alleged fraud."         United States ex rel. Doe v. Dow Chern.

Co., 343 F. 3d 325, 328 (5th Cir. 2003).

         "Rule 9(b) applies by its plain language to all averments

of fraud, whether they are part of a claim of fraud or not.•

Lone Star Ladies Inc. Club v. Schlotzsky's Inc., 238 F.3d 363,

368     (5th Cir. 2001).    District courts routinely apply Rule

9(b) 's heightened pleading standard to claims under the Texas

Insurance Code, DTPA, and the common law duty of good faith and

fair dealing.       See, e.g., Jaramillo v. Liberty Mut. Ins. Co.,

No. 4:18-CV-00338-Y, 2019 WL 8223608, at *3              (N.D. Tex. Apr. 29,

2019); Burton v. Companion Prop. & Cas. Ins. Co., No. W-14-CV-

054, 2014 WL 12490005, at *4         (W.D. Tex. July 29, 2014).

                                        v.

                                     Analysis

        Plaintiffs' claims for violations of the duty of good faith

and fair dealing, the Insurance Code, and the DTPA should be

dismissed.

A.      Plaintiffs' duty of good faith and fair dealing claim
        should be dismissed.

        Defendant argues that plaintiffs' claim for breach of the

common law duty of good faith and fair dealing should be

dismissed because they failed to            pl~ad   specific facts to support

their claim.       Doc. 17 at 6-8.     The court agrees.       \\A   cause of


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action for breach of the duty of good faith and fair dealing is

stated when it is alleged that there is          [I] no reasonable basis

for denial of a claim or delay in payment or [II] a failure on

the part of the insurer to determine whether there is any

reasonable basis for the denial or delay.•            Arnold v. Nat. Cty.

Mut. Fire Ins. Co., 725 S.W.2d 165, 167          (Tex. 1987).

        Here, plaintiffs fail to plead facts to show that defendant

lacked a reasonable basis to conclude that the damage was caused

by wear and tear instead of the storm.           See Doc. 15 ,, 40-45.

Plaintiffs claim that defendant should have known the damage was

caused by the storm because the damage was "significant,• id.

'    44, and that the storm caused "openings• in the roof through

which water intruded and damaged the interior of the building,

id. , 43.      However, they never explain why such openings could

not have been caused by wear and tear.           Consequently, plaintiffs

failed to satisfy Rule 8's pleading requirements, and their

claim for breach of the duty of good faith and fair dealing must

be dismissed.

B.      Plaintiffs' Insurance Code claims should be dismissed.

        i.   Section 541.060 (a) (1)

       Defendant argues that plaintiffs' claim under Texas

Insurance Code§ 541.060(a) (1) should be dismissed because it

relates to "alleged misrepresentations that occurred after the

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alleged loss, or the storm."                  Doc. 17 at 5.          The court agrees.

Section 541.060(a) (1) provides a cause of action against an

insurer for "misrepresenting to a claimant a material fact or

policy provision relating to coverage at issue.•                            Tex. Ins. Code

§   541.060 (a) (1) ..     Under Texas law,           "post-loss statements

regarding coverage are not misrepresentations under the

Insurance Code.•           Aguilar v. State Farm Lloyds, No. 4:15-CV-565-

A, 2015 WL 5714654, at *3               (N.D. Tex. Sept. 28, 2015); see also

Royal Globe Ins. Co. v. Bar Consultants,                       Inc.,    577 S.W.2d 688,

694    (Tex. 1979)       (distinguishing between a pre-loss

representation that induced the purchase of an insurance policy

and a post-loss representation regarding coverage).                              11
                                                                                      The

misrepresentation must be about the details of a policy, not the

facts giving rise to a claim for coverage.•                          Messersmith v.

Nationwide Mut. Fire Ins. Co., 10 F. Supp. 3d 721,                            724      (N.D.

Tex. 2014).         Because plaintiffs'           §   541.060(a) (1) claim relates

solely to post-loss representations about the cause of the

damage, such claim must be dismissed.'




4
  Even if a post-loss representation regarding coverage was covered by§ 541.060(a)(l ), such
claim should be dismissed because plaintiffs failed to plead facts to show that they relied on such
statement to their detriment as required by Texas law. Provident Am. Ins. Co. v. Castaneda,. 988
S. W.2d 189, 200 (Tex. 1998). Plaintiffs plead only that "Plaintiffs relied on Defendant and
Defendant's assigned adjuster to properly adjust the claim regarding the Property and to be
issued payment to fix such damage, which did not happen and has not been recti lied to date."
Doc. 15 ~ 12.
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     ii.    Section 542.003(b) (1)

     Defendant asserts that plaintiffs'       §    542.003 (b) (1) claim

must be dismissed because no such private cause of action

exists.    Doc. 17 at 11-12.    The court agrees.       Section

542.003(b) (1)   states that an insurer may not "knowingly

misrepresent[]   to a claimant pertinent facts or policy

provisions relating to coverage at issue.•           Tex.   Ins. Code

§ 542.003 (b) (1).   Federal district courts and Texas appellate

courts have routinely held that such provision does not provide

a private right of action against such_an insurer.            Jaramillo v.

Liberty Mut. Ins. Co., No. 4:18-CV-00338-Y, 2019 WL 8223608, at

*5 (N.D. Tex. Apr. 29, 2019); Kezar v. State Farm Lloyds, No.

1:17-CV-389-RP, 2018 WL 2271380, at *4       (W.D. Tex. May 17, 2018);

Great Am. Assur. Co. v. Wills, No. SA-10-cv-353-XR, 2012 WL

3962037, at *2    (W.D. Tex. Sept. 10, 2012); KLZ Diamond Tools,

Inc. v. TKG Gen. Agency,     Inc., No. 05-14-00458·-CV,      2016 WL

3947412, at *6 (Tex. App.-Dallas July 18, 2016); First Am. Title

Ins. Co. v. Patriot Bank, No. 01-14-00170-CV, 2015 WL 2228549,

at *7 (Tex. App.-Houston [1st Dist.] May 12, 2015).            Chapter 541

of the Insurance Code includes a provision entitled "Private

Action for Damages Authorized," Tex. Ins. Code§ 541.151, but

Chapter 542 lacks such a provision.       Based on the language,

legislative history, and court interpretation of the Insurance

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Code, only the Texas Department of Insurance can bring a claim

under § 542.003.     Jaramillo, 2019 WL 8223608, at *5.         Because

plaintiff attempts to bring a cause of action that does not

exist, such claim should be dismissed.

     iii. Remaining Insurance Code claims

     Defendant argues that the remaining Texas Insurance Code

claims should be dismissed because plaintiffs failed to plead

facts to support these claims.       The court agrees.

     Section 541.060 (a) (2) (A) provides a cause of action for

"failing to attempt in good faith to effectuate a prompt,           fair,

and equitable settlement of               a claim with respect to which

the insurer's liability has become reasonably clear."            Tex. Ins.

Code§ 541.060(a) (2) (A).     As stated above, plaintiffs have

alleged no facts to support the conclusion that defendant's

liability was reasonably clear.          Consequently, such claim should

be dismissed.

     Section 541.060 (a) (7) provides a cause of action against an

insurer for "refusing to pay a claim without conducting a

reasonable investigation with respect to the claim."           Tex. Ins.

Code § 541.060 (a) (7).   Plaintiffs have not pleaded any facts

regarding how defendant's adjuster's investigation was

unreasonable other than that the adjuster arrived at what

plaintiffs allege is the wrong conclusion regarding the cause of

                                    II
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the damage.     Instead, plaintiffs state conclusions such as,

"Although the storm caused significant damage to the property,

Defendant's adjuster did not document any storm related damage

to the roof."     Doc. 15 , 44.    Consequently, such claim should be

dismissed.

     Section 541.060(2)-(5) provides several causes of action

against insurers involving delays in settlement, in explaining

the basis of a claim denial, and in the affirmation or denial of

coverage.     Tex. Ins. Code§ 541.060(2)- (5).       The second amended

complaint's only mention of delay appears in the conclusory

statement that defendant violated§ 541.060(2)-(5) by

"unreasonably delaying the investigation, adjustment, settlement

offer and prompt resolution of Plaintiffs' claim."           Doc. 15

, 23(B).     Consequently, such claim should be dismissed.

     Section 541.151(2) provides a cause of action for certain

•unlawful deceptive trade practice[s]       if the person bringing the

action shows that the person relied on the act or practice to

the person's detriment.•      Tex. Ins. Code § 541.151(2)         However,

plaintiffs have pleaded no facts related to reliance.           Instead,

plaintiffs plead only that "Plaintiffs relied on Defendant and

Defendant's assigned adjuster to properly adjust the claim

regarding the Property and to be issued payment to fix such

damage, which did not happen and has not been rectified to

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date.•       Doc. 15 , 12.          Because plaintiffs failed to plead facts

to support their           §    541.151(2) claim, such claim should be

dismissed.

c.      Plaintiffs' remaining DTPA claims should be dismissed.

        Defendant asserts that plaintiffs'               remaining~     DTPA claims

should be dismissed.for failure to state a claim.                        Doc. 17 at

10.     The court agrees.

        Texas Business and Commercial Code               §   17.50 (a) (4) provides

for a cause of action by a consumer for damages resulting from

"the use or employment by any person of an act or practice in

violation of Chapter 541,              Insurance Code.•        Tex. Bus. & Com.

Code    §   17.50 (a) (4).        Because all of plaintiffs' claims brought

pursuant to the Insurance Code should be dismissed, this claim

should also be dismissed.

        Plaintiffs' sole remaining DTPA claim is based on defendant

allegedly "[h)iring and relying upon a biased adjuster                                 . to

assist Defendant in severely underpaying and/or denying

Plaintiffs' damage claim.•               Doc. 15 '23(D).         Plaintiffs state

that they bring this claim pursuant to Texas Business and

Commercial Code        §       17.46(31), id., but such provision relates to

the production and sale of synthetic substances and does not



5
 Two claims listed in the DTPA section of the second amended complaint were brought
pursuant to the Texas Insurance Code, Doc. 15 ,f23(B)-(C), and were discussed above.
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mention biased employees.       Tex. Bus.    &   Com. Code   §   17.46(31)

Although defendant pointed out this error, Doc. 17 at 10,

plaintiffs did not provide the proper provision in their

response, Doc. 19.     such claim should therefore be dismissed.

                                       VI.

                                   Order

     Therefore,

     The court ORDERS that such motion to dismiss be, and is

hereby, granted, and that plaintiffs' claims and causes of

action against defendant for violations of the Texas Insurance

Code, the DTPA, and the common law duty of good faith and fair

dealing be, and are hereby, dismissed.

     SIGNED August     /;()'   2020.




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